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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 HERMELINDO VILLALOBOS,               §
                                      §
        Plaintiff,                    §
                                      §
 v.                                   §      CIVIL ACTION NO. 4:23-CV-00016
                                      §
 PNC BANK, N.A. its assigns and/or    §
 successors in interest               §
                                      §
        Defendants.                   §
                             NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Hermelindo Villalobos (“Plaintiff”) and Defendant

PNC Bank, N.A. its assigns and/or successors in interest (“PNC”) (collectively, the “Parties”)

jointly file this Notice of Settlement and would respectfully show the Court as follows:

   1. The Parties respectfully notify the Court that they reached settlement on all claims in this

       matter.

   2. The Parties respectfully request that all upcoming hearings and/or deadlines be cancelled.

   3. Final dismissal papers will be filed with the Court within the next thirty (30) days.

       The Parties pray the Court cancel any upcoming hearings and provide the Parties thirty

(30) days to file final dismissal documents, and for such other further relief to which the Parties

may be justly entitled.



                                 [Signatures on following page]




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                               Respectfully submitted,




                           By: /s/ Gabriella Alonso
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                               ATTORNEYS FOR DEFENDANT PNC BANK,
                               N.A.

                               AND

                               /s/ James Q. Pope (with permission)
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                               HERMELINDO VILLALOBOS




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                                CERTIFICATE OF SERVICE
       I certify that on this 29th day of March 2023, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served on all counsel of record as follows:


                                       Via CM/ECF and e-mail:
                                            James Q. Pope
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                                         Counsel for Plaintiff


                                                     /s/ Gabriella E. Alonso
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